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US. Citizenship and Immigration Services

THIS NOTICE DOES NOT GRANT ANY IMMIGRATION STATUS OR BENEFIT.

Receipt Number Case Type
SRC2103050659 1485 - APPLICATION TO REGISTER PERMANENT RESIDENCE OR
ADJUST STATUS
Received Date " | Priority Date Applicant A218 099 957
10/30/2020 08/27/2019 NGUYEN, CUONG NHAT
Notice Date Page Beneficiary A218 099 957
05/27/2022 lofi NGUYEN, CUONG NHAT
CUONG NHAT NGUYEN Notice Type: Transfer Notice

We have mailed an official notice about this case (and any relevant documentation) according to the mailing preferences you chose on Form G-28, Notice
of Entry of Appearance as Attorney or Accredited Representative, This is a courtesy copy, not the official notice.

What the Official Notice Said

In order to speed up processing, we transferred the application or petition ("your case") listed above to the following USCIS office for processing:
NATIONAL BENEFITS CENTER, P.O. BOX 648005, LEE'S SUMMIT, MO 64064
That office will notify you in writing when they make a decision on your case or if they need additional information.

If any of the above information is incorrect or you have any questions about the status of your case, please call the USCIS National Customer

| Service Center (NCSC) at 1-800-375-5283 or visit the USCIS website at www.uscis.goy (if you are hearing impaired, the NCSC TDD number is
1-800-767-1833). If you call us, please have your Alien Registration Number (A-Number) and/or the receipt number shown above. The receipt number is a
tracking number for your case and will help with inquiries.

Processing time - Processing times vary by case type. Go to www .uscis.gov to see the current processing times listed by case type and office.

* View your case status on our website's Case Status Online page. /

* You can also sign up to receive free email updates as we process your case. .

* Most of the time your case is pending, the’process status will not change. This is because we are working on cases that were filed before your case.

* When we make a decision on your case or if we need something from you, we will notify you by mail and update our systems. oO

* . If you do not receive an initial decision or update from us within our current processing time, contact the NCSC at 1-800-375-5283 or visit our
website at www.uscis.gov. :

Please see the additional information on the back. You will be notified separately about any other cases you filed.
USCIS encourages you to sign up for a USCIS online account. To learn more about creating an account and the benefits, go to https://
www.uscis.gov/file-online.

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If this is an interview or biometrics appointment notice, please see the back of this notice for important information. Form I-797C 10/13/21

